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                                      IN RE:   INVOKANA


        1                     UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW JERSEY
        2
            IN RE: INVOKANA (CANAGLIFLOZIN)
        3 PRODUCTS LIABILITY LITIGATION             CIVIL ACTION NUMBER:
                                                    3:16-md-02750-BRM-LHG
        4
                                                    CASE MANAGEMENT
        5                                           CONFERENCE
            __________________________________
        6        Clarkson S. Fisher Building & U.S. Courthouse
                 402 East State Street
        7        Trenton, New Jersey 08608
                 August 16, 2018
        8        11:04 a.m.

        9   B E F O R E:               THE HONORABLE BRIAN R. MARTINOTTI
                                       THE HONORABLE LOIS H. GOODMAN
      10                               UNITED STATES DISTRICT JUDGES

      11    A P P E A R A N C E S:

      12    SEEGER WEISS LLP
            BY: CHRISTOPHER A. SEEGER, ESQUIRE
      13        JEFFREY GRAND, ESQUIRE
            ATTORNEYS FOR PLAINTIFFS
      14
            CARELLA, BYRNE, CECCHI, OLSTEIN, BRODY & AGNELLO
      15    BY: JAMES E. CECCHI, ESQUIRE
            ATTORNEY FOR PLAINTIFFS
      16
            DOUGLAS & LONDON, P.C.
      17    BY: MICHAEL A. LONDON, ESQUIRE
            ATTORNEY FOR PLAINTIFFS
      18
            LEVIN PAPANTONIO
      19    BY: TIMOTHY O'BRIEN
            ATTORNEY FOR PLAINTIFFS
      20
            TUCKER ELLIS LLP
      21    BY: JOHN Q. LEWIS, ESQUIRE
            MOLLIE BENEDICT, ESQUIRE
      22    Attorneys for Defendants

      23
      24     Certified as true and correct as required by Title 28,
             U.S.C., Section 753.
      25
                             /S/ Megan McKay-Soule, RMR, CRR



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        1
                   A P P E A R A N C E S, C O N T'D:
        2
        3   DRINKER BIDDLE & REATH LLP
            BY: JENNIFER CHAWLA, ESQUIRE
        4   Attorney for Defendants

        5   BARNES & THORNBURG LLP
            BY: JAMES F. MURDICA, TUCKER ELLIS LLP
        6   Attorney for Defendants

        7
            ALSO PRESENT: AVIVA WEIN, ESQUIRE
        8   Assistant General Counsel, Johnson & Johnson

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        1               THE DEPUTY COURT CLERK:      All rise.

        2               (Open court begins at 11:04 a.m.)

        3               JUDGE MARTINOTTI:    Good morning, everyone.

        4               JUDGE GOODMAN:    Good morning.

        5               JUDGE MARTINOTTI:    Counsel, appearing telephonically,

        6   can you hear us?

        7               THE DEPUTY COURT CLERK:      One moment, please.

        8               JUDGE MARTINOTTI:    Okay.

        9              (Brief pause.)

      10                JUDGE MARTINOTTI:    We are on the record.     Before we

      11    get started, it's about 20 after 11:00.          Due to a technical

      12    issue, the phone-in capability was not able to be engaged and

      13    those that appeared by phone are unable to hear this

      14    proceeding.    The Court apologizes to them for the technical

      15    mishap.

      16              That being said, welcome.      Counsel, Judge Goodman and I

      17    welcome you this morning.       Please put your appearances on the

      18    record.

      19                MR. CECCHI:   Good morning, Your Honor.      James Cecchi,

      20    Carella, Byrne, liaison counsel on behalf of plaintiffs.          And,

      21    again, we do apologize for the technical issues.         I have no

      22    idea why we couldn't get that to work, but we will advise the

      23    normal and usual coterie of plaintiffs' counsel of what

      24    occurred here today.

      25                JUDGE MARTINOTTI:    Thanks.




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        1               MR. LONDON:    Good morning, Your Honor.    Michael

        2   London for PSC.

        3               MR. GRAND:    Good morning, Your Honor.    Jeff Grand for

        4   PSC.

        5               MR. O'BRIEN:    Good morning, Your Honor.    Tim O'Brien

        6   for PSC from Levin Capontonio.

        7               JUDGE MARTINOTTI:    Welcome.

        8               MR. LEWIS:    Good morning, Your Honor.    John Lewis for

        9   defendants.

      10                MS. BENEDICT:    Mollie Benedict also for defendants.

      11                MS. CHAWLA:    Jennifer Chawla from Drinker Biddle also

      12    for defendants.

      13                MR. MURDICA:    Good morning, Your Honor.    Jim Murdica

      14    for defendants.

      15                MS. WEIN:    Good morning, Your Honor.    Aviva Wein for

      16    Johnson & Johnson.

      17                JUDGE MARTINOTTI:    Welcome.

      18              Before I get started today, I thought I would begin

      19    with a brief overview of the status of the litigation, some of

      20    which is known, some of which is unknown but will soon become

      21    public.

      22              Both myself and Judge Goodman have been very involved

      23    in this matter.    We've held monthly status conferences.         We

      24    have addressed and resolved numerous discovery issues.         Let me

      25    correct the record.       Judge Goodman has addressed and resolved




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        1   many discovery issues.     We both were overseeing the bellwether

        2   selection process and set up an aggressive trial schedule.

        3   While that matter was proceeding through discovery, there was

        4   also a confidential settlement program and conferences being

        5   held and administered by both Judge Goodman, myself, and

        6   settlement counsel.

        7          So, in essence, what we had existing were two tracks.

        8   We had the litigation track under the capable stewardship of

        9   litigation counsel, who is here today, and I thank you for

      10    that, proceeding through litigation.       And we had a settlement

      11    track being shepherded through settlement or resolution

      12    counsel, and I thank you for your efforts.

      13           With the consent of both plaintiff and defendants, the

      14    Court was engaged in the settlement discussions pursuant to an

      15    initial order wherein the Court was permitted to have ex parte

      16    conversation with both parties, as long as it addressed

      17    settlement issues.

      18           With that background, I am very pleased to announce the

      19    resolution of the vast majority of the cases subject to the

      20    MDL as well as many non-MDL cases.

      21           As I said earlier, concurrent with the efforts of

      22    resolution counsel were the efforts of litigation counsel, and

      23    through the combined efforts this matter has been resolved.

      24           There were numerous reasons for the resolution of the

      25    MDL within less than two years of being transferred to this




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        1   district, including the active day-to-day work of the parties

        2   through discovery, bellwether selection, and trial selection.

        3   The attorneys on both sides did their jobs efficiently,

        4   effectively, civilly, and represented their clients well.

        5   This was not an easy task for the Court or for counsel.

        6          Again, the Court thanks Janssen's resolution counsel

        7   Jim Murdica and his team for a tremendous effort.         The Court

        8   also thanks the plaintiffs' leadership team and PSC, many of

        9   whom have put their appearances on the record here this

      10    morning, for their diligence and oversight in this process.

      11           Both parties bought into the resolution process and

      12    again worked well with each other and the Court.        Though I

      13    can't stress enough that the resolution process really worked

      14    in tandem with the litigation process, and I think but for the

      15    dual tracks this matter may not have been resolved.

      16           The Court understands that just over 57 percent of the

      17    cases and claims related to these coordinating proceedings and

      18    approximately 80 percent of all filed claims have been

      19    resolved and/or dismissed, or will be dismissed, and

      20    additional settlements are occurring on a daily basis.         The

      21    Court also understands from the parties that approximately

      22    less than 20 percent of the filed MDL cases remain.

      23           Though most of the cases have been resolved, as counsel

      24    is well aware, there's still much work to be done, especially

      25    for those who are presently in settlement discussions with




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        1   Janssen's counsel for which a final resolution has not yet

        2   been reached.   I urge the parties to continue in good faith

        3   discussions in these cases as well as cases similarly situated

        4   so hopefully they, too, can resolve.

        5           The Court is also mindful that there are new cases

        6   being acquired and/or filed and many of these cases may

        7   present problematic issues, including the lack of detail about

        8   the claims or medical issues alleged, statute of limitations

        9   defenses or legal challenges related to certain labeling

      10    changes that the product has undergone.       I'll explain how

      11    these cases will be handled in a moment.

      12            The Court directs Janssen and its resolution counsel to

      13    continue working to resolve cases that are in queue as well as

      14    those lining up based on the same resolution and criteria used

      15    to date.   This should be done as expeditiously as possible,

      16    and I would like to be updated regularly on the status and

      17    emerging issues.

      18            That can be done on an as-needed basis, but as I will

      19    say in a few minutes, we will have and will continue to have

      20    monthly status and case management conferences that are set

      21    forth in CMO No. 22, but please look on the docket to make

      22    sure that the case is still scheduled.        We are scheduled, I

      23    believe, through the end of December.       I anticipate in the

      24    fall we'll set a schedule out further through the end of next

      25    year.




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        1          The Court also directs that plaintiffs' counsel engage

        2   in the process with Janssen to devote all appropriate and

        3   available resources to obtaining the necessary medical records

        4   specific to each plaintiff's claimed injuries to allow counsel

        5   to submit the case for review by Janssen's team.

        6          The Court understands that some plaintiffs' counsel

        7   have been remiss in collecting and/or submitting medical

        8   records.    Unfortunately, those counsel are probably the ones

        9   that are on the phone not hearing this.       I hereby direct any

      10    such counsel to allocate the appropriate resources to this

      11    endeavor.   This is important and confers a direct benefit on

      12    your clients.

      13           I'm going to ask plaintiffs' counsel to paraphrase this

      14    paragraph to counsel, who would have appeared telephonically,

      15    to remind them that it's in their best interest and their

      16    client's best interest to work with Janssen to try to resolve

      17    this matter and to follow up with any document requests and

      18    other loose ends that need to be tied up before resolution can

      19    be produced.

      20           Janssen is also directed to continue reviewing

      21    submissions in good faith and to ensure that it is adequate

      22    staffing to review these changes as they are submitted.

      23           Janssen is to report any problems in this regard to the

      24    PSC leadership counsel so they may attempt to assist in

      25    resolving any issues before they are brought to the attention




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        1   of the Court.   The parties are directed to report the progress

        2   of this process and issues, concerns, or problems that are

        3   unresolved plaintiffs slash claimants affiliated with the MDL

        4   to the court on or before October 15th, though we will

        5   probably have a status prior thereto.

        6            In light of this Court's familiarity with the

        7   scientific and legal issues in this case, the bellwether

        8   process, and the great success of resolution leading to the

        9   resolution of such a large volume of claims, the Court has

      10    determined that it is appropriate that I will retain

      11    jurisdiction and enter an administrative order similar to

      12    those utilized in other successful mass tort cases, such as

      13    Vioxx under the leadership of Judge Fallon, Pradaxa under

      14    Judge Herndon's leadership, and YAZ under Judge Herndon.          I'm

      15    going to take a bit of credit for that.       I worked with Judge

      16    Herndon on YAZ as a state court judge and we utilized these

      17    orders in resolution of that litigation as well.

      18             It is the Court's determination that the implementation

      19    of this order will further the goals of these proceedings and

      20    will ensure the timely evaluation and resolution of pending

      21    and future filed MDL cases.

      22             There will be two groups of cases moving forward:

      23    Those that were filed before today, August 16th, will be one

      24    group.   They will be called existing cases.       Those that are

      25    filed today, or moving forward, will be newly filed cases.




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        1   The administrative order, once entered, will have certain

        2   medical record preservation and discovery obligations that

        3   must be satisfied on an aggressive timeline to facilitate,

        4   whether by way of settlement or dismissal, a speedy resolution

        5   of future filed cases in this MDL and of currently pending

        6   cases that are not part of the pending evaluation and

        7   negotiation by counsel for Janssen.

        8           In light of the ongoing submissions and negotiations

        9   with counsel for Janssen, the order that I will be entering

       10   will stay application of all obligations for currently pending

       11   cases until October 30th to permit those firms that have

       12   already engaged to begin or have initiated resolution to

       13   discussions with counsel for Janssen an additional time to

       14   complete the discussions.

       15           Considering the resolution of so many cases and the

       16   claims to date and the need to wind this MDL down, the Court

       17   views such an administrative order and it necessary under the

       18   unique circumstances of this MDL.       It affords litigants their

       19   day in court, yet affords the defendants some window of

       20   certainty.    We have made excellent process in the past two

       21   years and I expect the parties to continue to work with me

       22   following the implementation of the order and compliance with

       23   its deadlines to ensure that the goals of these proceedings

       24   are promptly and efficiently achieved.

       25           Again, counsel, I thank you for your efforts, your




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        1   ability to think outside the box, to work with each other, to

        2   work with the Court, issues that came up.        This was a highly

        3   technical case, yet the discovery was resolved through Judge

        4   Goodman, whether it be a conference, telephone conference or

        5   otherwise.    I appreciate litigation counsel moving the ball

        6   along.   I believe that was an impetus to the settlement as

        7   well and, of course, resolution counsel in working in good

        8   faith with all the parties.

        9              MR. CECCHI:   Judge, I just want to note, I think all

       10   the parties -- I can speak for the plaintiffs -- thank Your

       11   Honor and Judge Goodman for your case management and able

       12   guidance of this MDL.     I think it illustrates what can get

       13   done in the short period of time with cooperation between the

       14   parties and the Court.     Thank you.

       15              MR. LEWIS:    On behalf of defendants, Your Honors, we

       16   would echo that sentiment.      And, again, thank you, Your

       17   Honors, for all of the effort and work you put into this

       18   litigation.

       19              JUDGE MARTINOTTI:    Thanks.

       20              MR. LONDON:   Your Honor, I want to acknowledge we

       21   will follow up with a directive to notify plaintiffs' counsel

       22   on the medical records and certainly, as Mr. Cecchi indicated,

       23   plaintiffs in the PSC, Mr. Grand, Mr. O'Brien, Mr. Seeger, we

       24   all appreciate the Court's time and truly commitment to this

       25   case.    Those monthly status conferences, the trial process,




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        1   the discovery process, your commitment to this and our clients

        2   and the plaintiffs, the PSC in the interest of counsel is

        3   appreciated and I think it's recognized and this is the result

        4   in two years.

        5             MR. MURDICA:    And I just want to say for the record,

        6   Your Honor, without the Court's help we wouldn't be where we

        7   are today, and so we're very grateful on our end.         And the PSC

        8   is as zealous as any lawyers that I've encountered but equally

        9   professional, and I would like to thank them for their work

       10   throughout this process.

       11             JUDGE MARTINOTTI:     Okay.   We are off the record.

       12   Back on the record.

       13             MS. BENEDICT:    Do you want to cancel the status

       14   conference for next week?

       15             JUDGE MARTINOTTI:     Yes.    The status conference for

       16   next week will be canceled.

       17             JUDGE GOODMAN:    I just wanted to add and chime in

       18   with what Judge Martinotti has said, I mean, there are a lot

       19   of very contentious issues that have been raised in this case

       20   and resolved in this case by the counsel that I know I never

       21   had to see.    And the issues that I did see were the ones that

       22   were really vetted and narrowed and even then we were able to

       23   work them out in a very professional way.        And I really

       24   appreciate that.

       25             MS. CHAWLA:    Thank you, Your Honor.     It's a pleasure




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        1   to be in this courtroom.

        2             JUDGE MARTINOTTI:     Now we're off the record.

        3             THE DEPUTY COURT CLERK:      All rise.

        4             (Court concludes at 11:30 a.m.)

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        1
        2                           REPORTER'S CERTIFICATE.

        3
        4         I, Megan McKay-Soule, RMR, CRR, Official Court Reporter

        5   of the United States District Court for the District of New

        6   Jersey, do hereby certify that the foregoing proceedings are a

        7   true and accurate transcript of the testimony as taken

        8   stenographically by and before me at the time, place, and on

        9   the date hereinbefore set forth.

       10         I further certify that I am neither related to any of the

       11   parties by blood or marriage, nor do I have any interest in

       12   the outcome of the above matter.

       13
       14
       15   /S/ Megan McKay-Soule, RMR, CRR         August 16, 2018

       16              Court Reporter                                 Date

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